                               UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NORTH CAROLINA
                                    SOUTHERN DIVISION
                                      Case No. 7:23-cv-897



    IN RE: CAMP LEJEUNE TOXIC WATER                          PLAINTIFFS’  MEMORANDUM      IN
    EXPOSURE LITIGATION                                      SUPPORT     OF    MOTION    TO
                                                             RECONSIDER     ORDER   DENYING
                                                             PLAINTIFFS’ MOTION TO COMPEL
    This document relates to:                                PRODUCTION       OF    CERTAIN
                                                             DIGITIZED MUSTER ROLLS
    ALL CASES




           Pursuant to Rule 54(b) of the Federal Rules of Civil Procedure, the Plaintiffs’ Leadership

Group (“PLG”) respectfully submits this Memorandum in Support of its Motion To Reconsider

Order Denying Plaintiffs’ Motion To Compel Production Of Certain Digitized Muster Rolls.

                                                    Background

           The Plaintiffs’ Leadership Group (“PLG”) respectfully requests that the Court reconsider

its Order [D.E. 157] denying as moot the PLG’s Motion To Compel Production Of Certain

Digitized Muster Rolls (the “Motion to Compel”) [D.E. 141].1

           Prior to filing the Motion to Compel, the PLG learned that the United States Marine Corps

(“USMC”) and the United States Department of Veterans Affairs (“VA”) partnered on a muster

roll digitization project specifically related to Camp Lejeune. The digitization project took place

from 2013 to 2015 and involved the digitization of almost 61 million pages of muster rolls

generated from 1940 to 2005 and specific to Camp Lejeune (the “Project”). Specifically, the

Project involved the (a) digitization of muster rolls (b) specifically related to Camp Lejeune (c)



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    The PLG filed a memorandum in support of the Motion to Compel, to which it attached various exhibits. [D.E. 141].


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covering the period of 1940 to 2005 (d) spanning 61 million pages of records (e) that are

searchable for individual service members. [D.E. 141-3 at pp 9-10; D.E. 141-4 at p 13].

        The PLG propounded its First Request for Production of Documents (the “First Request”)

was served on September 28, 2023. [D.E. 81-2], with Request No. 3 seeking documents regarding

the Project:

        3. Please produce the ESI, as defined herein, and data created as a result of the
        digitizing of the 61 million pages of USMC Camp Lejeune Muster Rolls
        representing over 5 million unique Service Members who were stationed at Camp
        Lejeune from the 1950s to 1971 which was performed by the USMC via contract
        beginning in 2013 and completed by December 2015 based on the 2013, 2014, and
        2015 VA/DoD Executive Committee Annual Reports.

[D.E. 81-3, at p 6].2

        Defendant opposed the Motion to Compel as moot on the basis that Defendant had already

committed to producing the existing digitized muster rolls and related database in its possession

by the end of March 2024. [D.E. 150]. Defendant further advised that “[c]ontrary to PLG’s

expectation, the present muster rolls on the NAS are not searchable by name. Moreover, there are

no expectations that the current USMC digitization project will produce a database that is

searchable by name to readily produce muster roll information (without multiple searches or

selections).” [D.E. 150]

        Newly discovered evidence indicates that the Project or at least a nearly identical project

to digitize personnel records for Camp Lejeune to create a searchable database exists and has not

been provided to the PLG.

        In an undated presentation on the toxic water at Camp Lejeune, the VA identified the

following registry as being currently available:


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  As noted in the Motion to Compel, the PLG withdrew the above-quoted request for electronically stored
information—i.e., electronic data that must be searched for and identified. Thus, the PLG only requested the specific
digital muster rolls generated during the Project.


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       Marine Corps Unit Diary Database (MUDD) (1940-2005) - From 2014 to 2015, the
       Marine Corps scanned ~69 million images of historic Muster Rolls (microfilm and
       microfiche) that were located at MCB Quantico and the National Archives. The
       images are in a searchable database by year, description, RUG or SSN,
       organizational unit, location, MMSB reel number (if applicable); and/or through a
       Full Text search. A search tool was developed for 1950-1990 to facilitate queries.

A copy of the presentation is attached hereto as Exhibit A.

       The MUDD database is exactly what the PLG requested in Request No. 3 and what

Defendant said was not expected to exist.

                                         Statement of Law

       Pursuant to Rule 54(b) of the Federal Rules of Civil Procedure, “any order or other

decision, however designated, that adjudicates fewer than all the claims or the rights and liabilities

of fewer than all the parties does not end the action as to any of the claims or parties and may be

revised at any time before the entry of a judgment adjudicating all the claims and all the parties’

rights and liabilities.” Fed. R. Civ. P. 54(b).” “Compared to post-judgment Rule 59(e) motions,

Rule 54(b) gives district courts ‘broader flexibility to revise interlocutory orders before final

judgment as the litigation develops and new facts or arguments come to light.’” Best v. Butterball,

LLC, No. 4:22-cv-147, 2024 U.S. Dist. LEXIS 17245, at *2 (E.D.N.C. Jan. 31, 2024) (quoting

Carlson v. Boston Sci. Corp., 856 F.3d 320, 325 (4th Cir. 2017).

       Only the following circumstances will support a motion under Rule 54(b): (1) “a

subsequent trial produc[ing] substantially different evidence; (2) a change in applicable law; or (3)

clear error causing manifest injustice.” Carlson, 856 F.3d at 325. This Court has recognized the

following factors that support motions to reconsider based upon new evidence:

               (1) the evidence must be newly discovered; (2) the
               movant [*4] must have exercised due diligence to discover the new
               evidence; (3) the evidence is not cumulative or merely impeaching;
               (4) the evidence is material; and (5) the evidence is likely to produce




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                  a new outcome if the case were retried, or would require the
                  judgment to be amended.

Best v. Butterball, LLC, No. 4:22-cv-147, 2024 U.S. Dist. LEXIS 17245, at *3-4 (E.D.N.C. Jan.

31, 2024) (“District courts within this circuit, including this one, have followed a similar approach

and applied this test to motions under Rule 54.”).

                                            Argument

       The MUDD databases identified in the VA presentation constitutes new evidence that the

Project or at least a nearly identical database of searchable, digitized personnel records for Camp

Lejeune exists. As noted in the Motion to Compel, the importance of the MUDD database is self-

evident.

       However, the importance of the MUDD database is even more critical because

servicemembers cannot currently obtain military records from the National Archives in connection

with their Camp Lejeune claims. In support, the PLG attaches three screenshots of the National

Archives’ service records request portal as Exhibit B. The first three pages show the process of

requesting documents if a servicemember identifies that the request is in connection with the Camp

Lejeune Justice Act of 2022. Critically, if a servicemember says his request is in connection with

the CLJA, the “Continue” button on page 3 is gray, indicating an inability to proceed with the

request process. By contrast, if a servicemember says his request is not in connection with the

CLJA, the “Continue” button is blue, indicating an ability to proceed with the request. See Page

4 of Exhibit B.

       Shut out of the National Archives, the MUDD database represents a critical mechanism for

servicemembers to obtain records on their military service.




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       WHEREFORE, the PLG respectfully requests that the Court compel the government to

produce a the MUDD database identified in the VA presentation attached hereto as Exhibit A, and

for such other and further relief as the Court deems just and proper.



                                  Signatures on Following Page




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Date: May 3, 2024                                    Respectfully Submitted

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                                CERTIFICATE OF SERVICE

       I, J. Edward Bell, III, hereby certify that the foregoing document was electronically filed

on the Court’s CM/ECF system on this date, and that all counsel of record will be served with

notice of the said filing via the CM/ECF system.

       This the 3rd day of May, 2024.



                                            /s/ J. Edward Bell, III________________

                                            J. Edward Bell, III




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